     Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 1 of 30




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IPT GLOBAL, LLC, and                           §
INNOVATIVE PRESSURE                            §
TESTING, LLC,                                  §
                                               §
      Plaintiffs,                              §
                                               §
v.                                             §                                 3230
                                                       CIVIL ACTION NO. 4:19-CV-______
                                               §
OFFSHORE TECHNICAL                             §
COMPLIANCE LLC,                                §
                                               §
      Defendant.                               §
                                               §       JURY TRIAL DEMANDED


                     PLAINTIFFS IPT GLOBAL, LLC AND
                   INNOVATIVE PRESSURE TESTING, LLC’S
              ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT


       1.      Plaintiffs IPT Global, LLC (“IPT Global”) and Innovative Pressure Testing, LLC

(“IPT”) file this Original Complaint for Patent Infringement against Defendant Offshore

Technical Compliance LLC (“OTC”).

                                            I.
                                      INTRODUCTION

       2.      This proceeding is a patent infringement lawsuit brought by Plaintiffs IPT Global

and IPT against Defendant OTC for infringement of Plaintiffs’ United States Patent

No. 9,207,143 (“the ‘143 patent”) (Exhibit 1) by OTC’s making, selling, offering for sale, and

using the pressure testing inventions claimed by the ‘143 patent.
     Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 2 of 30




                                             II.
                                           PARTIES

       3.      Plaintiff IPT Global is a limited liability company organized and existing under

the laws of the State of Texas. Its principal place of business is at 16200 Park Row Drive, Suite

350, Houston, Texas 77084.

       4.      Plaintiff IPT is a limited liability company organized and existing under the laws

of the State of Texas. Its principal place of business is at 16200 Park Row Drive, Suite 350,

Houston, Texas 77084.

       5.      Defendant OTC is a limited liability company organized under the laws of the

State of Louisiana. OTC has a regular and established place of business located at 15990 North

Barkers Landing Road, Suite 100, Houston, Texas 77079. OTC may be served with process by

serving its agent for service of process, Northwest Registered Agent, LLC, 5900 Balcones

Drive, Suite 100, Austin, Texas 78731.

                                         III.
                               JURISDICTION AND VENUE

       6.      This action states claims arising under the patent laws of the United States, 35

U.S.C. § 101 et seq. Plaintiffs IPT Global and IPT assert a cause of action against Defendant

OTC for patent infringement under 35 U.S.C. § 271. This Court has original and exclusive

subject matter jurisdiction over this claim pursuant to 28 U.S.C. § 1338(a).

       7.      Defendant OTC is subject to general personal jurisdiction in this Court because it

has established systematic and continuous contacts with the State of Texas sufficient to subject

it to general personal jurisdiction in Texas. Defendant OTC is further subject to specific

personal jurisdiction in this action because Plaintiffs’ claim for patent infringement arises from

and/or relates to sufficient minimum contacts which OTC has purposefully established with the



                                               2
     Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 3 of 30




State of Texas. This Court’s exercise of personal jurisdiction over OTC would not offend

traditional notions of fair play and substantial justice.

        8.      Venue for Plaintiffs IPT Global and IPT’s claim for patent infringement is proper

in this judicial district pursuant to 28 U.S.C. § 1400(b) because OTC has committed acts of

infringement in this district and because it has a regular and established place of business in this

district.

                                           IV.
                                  FACTUAL BACKGROUND

        9.      This proceeding is a patent infringement lawsuit brought by Plaintiffs IPT Global

and IPT against Defendant OTC for infringement of Plaintiffs’ novel systems and methods for

testing the integrity of pressure systems, as claimed in the ‘143 patent.

        10.     Plaintiff IPT Global is a worldwide leader in digital pressure testing, including

pressure testing of well control systems such as blowout preventers (BOPs). IPT Global was

established in 2008 and its employees and inventors have since been awarded 13 patents on its

pressure testing inventions. IPT Global practices the systems and methods claimed by the ‘143

patent, including by using its SureTec® suite of digital pressure testing products.

        11.     Much of the equipment used in the oilfield industry must be capable of safely

handling high pressure fluids. Familiar examples include blowout preventers, mud systems,

hydraulic systems, high pressure air systems, and injection systems. By way of example, a BOP

stack positioned on a wellhead or riser is often required to safely handle pressures well over

5,000 psi.

        12.     These pressure systems and the individual components that comprise the

systems, e.g., valves, piping, and seals, are periodically tested to ensure that the system is




                                                  3
     Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 4 of 30




capable of safely maintaining the expected pressures. To perform these tests, the operator will

often isolate different portions of the system and then subject the isolated portion of the system

to a test pressure. The test pressures within these isolated portions are then sampled over a

period time often ranging from 10 minutes to over an hour. In addition, many of these tests may

need to be repeated several times in order to rule out other factors that may affect the test

results. As a result, this testing may require a significant time commitment, e.g., 12 to 24 hours,

which can become very expensive when the daily rental rate for a drilling rig may approach

$1,000,000 per day.

          13.   These challenges with conventional pressure testing methods led IPT Global to

discover computer implemented pressure testing methods and systems that can safely and

accurately determine whether a pressure system being tested would achieve a steady state

pressure within the applicable time limit. In brief overview, the pressure in the system is

periodically sampled over time and the resulting curve of pressure versus time is compared to a

benchmark pressure response when then the system is performing properly. If the tested

response correlates closely to the benchmark response, the test is considered a passing test.

This determination whether a system will hold a minimum steady state pressure can often be

made on a computer system much quicker than previous manual methods. This discovery led to

the development of the leak detection systems and methods described and claimed in the ‘143

patent.

          14.   A report of testing from the ‘143 patent is reproduced below with portions

highlighted in red. A low pressure test of a BOP that failed testing is depicted in the pressure

graph labeled 1504 in Figure 18 from the ‘143 patent.




                                                4
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 5 of 30




       15.    Another aspect of IPT Global’s patented digital pressure testing inventions is the

creation of a schematic illustration of the pressure system to be tested. Well control systems

often include several BOPs with rams or annular seals, each with supporting valves and piping

or lines to supply pressurized operating fluid. Thus, a computer illustration of the pressure

system with its different fluid control components is created on a computer in order to properly



                                              5
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 6 of 30




test all of the different components to the appropriate pressure and to help avoid costly

duplicative testing. Figure 15 from the ‘143 patent is reproduced below and provides an

example of such a schematic illustration to be displayed on a computer screen or printed. By

way of example, circled in red are a pressurized pipe or conduit 1215, a pressurized annular

space 1209 surrounding tubing 1208, and the closed annular BOP 1221.




       16.    In order to pressure test the entire BOP system, the different BOP rams and

valves must be opened or closed and pressurized to successively isolate and test each

component or group of components. This typically requires testing several different valve and

ram configurations. For example, in the configuration of Figure 15 above, valve 1269 and BOP

1228 are both closed and will be tested under pressure, whereas line 1285 and downstream



                                             6
     Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 7 of 30




components will not be tested. These different testing configurations are referred to as test

“alignments.”    A full system test may require several different testing configurations or

alignments in order to properly test each fluid control component. Figure 19 from the ‘143

patent depicts five tests and confirms that each of the several valves and rams from the system

will be tested by performing tests configured according to these five alignments.




       17.      IPT Global devoted over three years of effort and significant research and

development funds to designing, testing, and improving its patented SureTec® suite of digital

pressure testing software. SureTec® was a huge success. IPT Global’s customers — including

many of the major oil companies and operators — heaped praise on SureTec® for its ability to



                                               7
     Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 8 of 30




develop optimized BOP test plans and thus drastically reduce the required testing time, often

saving customers many millions of dollars that would otherwise be lost in added downtime

required for inefficient test plans and wasted testing time.

       18.        In 2014, IPT Global demonstrated its SureTec® testing suite on a wellsite that

was also using competing pressure testing software then offered by OTC. On information and

belief, at the time, OTC’s competing software lacked many of SureTec®’s advanced features,

including its patented test planning and test schematic generation features.        Mr. Harold

“Stretch” Kuykendall was on the scene and observed the pressure testing and SureTec®’s

advanced features.

       19.        On information and belief, Mr. Kuykendall advised personnel from OTC that

SureTec®’s advanced features, including its patented test planning and test schematic generating

features provided IPT Global a significant competitive advantage over OTC’s less effective

software. On information and belief, Mr. Kuykendall joined OTC to help it develop new

software with added features to compete directly with IPT Global. On information and belief,

Mr. Kuykendall brought with him test plans, reports, and documentation regarding SureTec®

that IPT Global had earlier provided only to its customer.

       20.        On information and belief, OTC used the information and documentation gained

from Mr. Kuykendall to design and develop OTC’s competing suite of products referred to as

“Greenlight,” and particularly, its test planning and schematic generation component referred to

as “Blueprint.”

       21.        On information and belief, OTC also gained insight into the operation of

SureTec® by hiring no less than five of IPT Global’s managers and technical personnel who had

significant knowledge of SureTec® gained while employed at IPT Global. On information and



                                                 8
     Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 9 of 30




belief, these IPT Global employees hired by OTC also gave OTC key information regarding

IPT Global’s customers, its pricing, and its marketing techniques used with the patented

SureTec® suite of products.

         22.   On information and belief, the IPT Global employees who were hired by OTC

also advised OTC that IPT Global had filed patent applications and/or been granted patents on

the many innovative features of SureTec®, including the test planning and test schematic

generating features then being copied by OTC. On information and belief, OTC thereby gained

specific knowledge of the ‘143 patent.

         23.   In 2016, OTC released its copied “Blueprint” software used for generating

schematic illustrations of pressure systems to be tested and for generating optimized test plans

for efficiently testing the many different components of complex pressure systems. These

schematic illustrations are output on a display screen, saved to electronic files, and/or printed on

media for a permanent record of testing configurations.          Like the schematic illustrations

described and claimed by the ‘143 patent, OTC’s illustrations generated by its Blueprint

software component include symbols representative of the many different fluid control

components of the pressure system to be tested, for example, valves, BOPs, and pipes or control

lines. Such an illustration for one particular OTC test configuration or “alignment” is shown

below:




                                                9
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 10 of 30




                                  Fig. 1 OTC Blueprint

       24.    Much like the system and methods described in the ‘143 patent, the OTC

Blueprint software outputs a table to indicate whether each of the wellhead pressure control

components will be tested. An example is shown below:




                                            10
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 11 of 30




                                     Fig. 2 OTC Blueprint

       25.     OTC also provides software that it uses for collecting and displaying pressure

testing data and results, which OTC refers to as the “OTC Greenlight” software. The OTC

Greenlight software displays on a computer screen visual graphs of sensed pressure as a

function of time, as well as a visual indicator indicating whether the alignment being tested has

passed the pressure test then being performed (e.g., using a circular green light).

       26.     Like IPT Global’s patented systems and methods, the OTC Greenlight software

uses the sensed pressure data sampled at successive time intervals to determine whether the

pressure system configuration being tested will achieve a steady state pressure above the

applicable pressure limit.      Like IPT Global’s patented systems and methods, OTC’s

determination is often made quicker than the full duration of testing time that would otherwise

be required by previous manual testing methods.




                                                11
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 12 of 30




       27.     An example of a pressure graph from OTC’s Greenlight software is shown

below. The test begins with a pressure of about 6,050 psi, and by the time 5:02:35, the pressure

has dropped to 5,835 psi. At this time, the system is not yet able to determine whether the

pressure will be maintained within the applicable limits, so it displays a yellow triangle and

testing continues. However, by 5:03:20 the decreasing pressure, now 5,830 psi, has sufficiently

settled to enable a determination that the system will maintain its pressure within the applicable

limits. Thus, the system displays a green circle on the right to indicate that the test was

considered passing and that this phase of testing may be terminated by pressing the “terminate

now” button.




                                    Fig. 3 OTC Greenlight




                                               12
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 13 of 30




                                    Fig. 4 OTC Greenlight




                                    Fig. 5 OTC Greenlight

       28.     OTC’s software suite also includes a “Leaflet” software application for

generating reports of testing. These reports combine and tabulate the illustrations of the various

test alignments, along with the corresponding test data and results (whether “passed” or




                                               13
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 14 of 30




“failed”). The reports generated by the Leaflet software may be output as electronic files and

may be printed and stored as a record of the pressure testing.




                                      Fig. 6 OTC Leaflet

        29.     OTC performs pressure testing as a service for its customers using its Blueprint,

Greenlight, and Leaflet software to infringe the ‘143 patent. OTC also provides its software to

customers with instructions and support to operate the software so as to infringe the ‘143 patent.

                                           V.
                                   CLAIMS FOR RELIEF

                                       COUNT 1
                                 PATENT INFRINGEMENT

        30.     Plaintiffs IPT Global and IPT hereby incorporate paragraphs 1–29 above as if

fully set forth herein.



                                               14
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 15 of 30




        31.     On November 8, 2011, inventors Charles M. Franklin and Richard A. Cully filed

United States Patent Application Serial No. 13/291,895, entitled Systems and Methods for

Determining Leaks in a Complex System. Pursuant to 35 U.S.C. § 119, this application claims

and is entitled to priority on United States Patent Application Serial No. 12/833,216 filed on

July 9, 2010, and on United States Provisional Patent Applications Serial No. 61/311,863 filed

on March 9, 2010 and Serial No. 61/234,736 filed on August 18, 2009.

        32.     On December 8, 2015, Messrs. Franklin and Cully’s 2011 application was duly

and lawfully issued as the ‘143 patent by the United States Patent and Trademark Office. By

written assignment from the inventors Messrs. Franklin and Cully, Plaintiff IPT owns all right,

title, and interest in and to the ‘143 patent.

        33.     In 2011 and 2012, IPT granted an exclusive license to IPT Global with respect to

the systems and methods described and claimed in the ‘143 patent. IPT Global has standing as

a proper plaintiff because it is the exclusive licensee with the right to sublicense and enforce the

‘143 patent. IPT is a proper plaintiff as the assignee of the ‘143 patent with the right to assume

any enforcement that is not pursued by IPT Global and the right to join in any suit for

enforcement of the ‘143 patent.

        34.     The ‘143 patent includes 18 claims. Claims 1 and 11 are independent method

claims directed to methods for testing the integrity of a pressure system. Claim 18 is an

independent system claim directed to a leak detection system. Claims 2-10 and 11-17 are

dependent method claims which depend from either claim 1 or claim 11.

        35.     Defendant OTC infringes the ‘143 patent by making, using, offering for sale, and

selling systems and methods which practice the claims of the ‘143 patent without authorization

from IPT or IPT Global. By way of example, Defendant OTC infringes claim 1 of the ‘143



                                                 15
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 16 of 30




patent. Certain of OTC’s representative and non-limiting systems, structures, and acts which

infringe claim 1 of the ‘143 patent will now be described.

       36.     Claim 1 is directed to “[a] method for testing the integrity of a pressure system,

said pressure system having a plurality of fluid control components, a plurality of fluid

pathways defined by said fluid control components, and at least one pressure sensor in fluid

communication with said plurality of fluid pathways.”          OTC practices this method by

performing the recited method steps using its Blueprint, Greenlight, and/or Leaflet software to

perform pressure testing on pressure systems, for example, BOP systems, that comprise fluid

control components. These fluid control components include BOPs and valves, which are

connected to a pressure source such as a fluid pump, and supply lines with a pressure sensor

positioned to sense pressure in the system downstream from the pump and upstream from the

tested component(s). The sensed pressure, such as 5,830 psi shown in Fig. 4 above, is displayed

on a computer screen using the Greenlight software.

       37.     Claim 1 of the ‘143 patent further recites “forming, on an output device of a

computer system, an illustration representative of said pressure system, said illustration

including a plurality of fluid control symbols reflective of said plurality of fluid control

components, said fluid control symbols reflecting at least one of an operating position and a test

status of a fluid control component[.]” OTC practices this step by creating illustrations in its

Blueprint software and by reproducing these illustrations in its Leaflet software reports. These

Blueprint illustrations include symbols that reflect the operating position of fluid control

components, such as open or closed valves and open or closed BOPs.




                                               16
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 17 of 30




                                    Fig. 7 OTC Blueprint

       38.     OTC’s Leaflet reports include an indication of the test status of these fluid

control components, such as “Passed” or “Failed,” immediately adjacent to the corresponding

alignment illustration and pressure graphs.




                                      Fig. 8 OTC Leaflet




                                              17
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 18 of 30




                                      Fig. 9 OTC Leaflet

       39.     Claim 1 of the ‘143 patent further recites “receiving, by the computer system, a

selection of an operating position for a first plurality of fluid control symbols to define a first

fluid pathway within said illustration[.]” OTC practices this step by receiving from a user

selections for a particular pressure testing alignment using the OTC Blueprint software. The

fluid pathway for pressurized fluid in a first alignment is shown in red in Fig. 7 above.

       40.     Claim 1 of the ‘143 patent further recites “receiving, by the computer system, a

selection of an operating position for a second plurality of fluid control symbols to define a

second fluid pathway within said illustration[.]” OTC practices this step by receiving from a

user one or more additional testing alignments using the OTC Blueprint software. By way of

example, the fluid pathway for pressurized fluid in such a second alignment is shown in red in

the drawing below, which depicts the same pressure systems as was depicted the first alignment,

but with alternative operating positions of the fluid control components.




                                               18
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 19 of 30




                                   Fig. 10 OTC Blueprint

       41.     In the drawing above, the second fluid pathway is defined by the closed valves

LIK, UIK, VIC, and LIC, the closed blowout preventer labeled BSR, the interconnecting

annular space above the test stump, and the pressure lines shown in red.

       42.     Claim 1 of the ‘143 patent further recites “receiving, by the computer system, a

signal reflective of a pressure sensed by said pressure sensor[.]” OTC practices this step by

sensing the pressure supplied by a pump and receiving the sensed pressure by a computer that is

operating OTC’s Greenlight software.




                                              19
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 20 of 30




       43.     Claim 1 of the ‘143 patent further recites “positioning a first plurality of fluid

control components to form said first fluid pathway within said pressure system, said first fluid

pathway configured to be individually pressurized and including said pressure sensor[.]” OTC

practices this step by positioning the plurality of fluid control components shown in the first

alignment in Figure 7 above to form the first fluid pathway shown therein in red. The fluid

pathway is connected to a pump such as the pump labeled “Surface Test Pump” below. A

pressure sensor is positioned in the first fluid pathway.

       44.     Claim 1 of the ‘143 patent further recites “pressurizing said first fluid pathway to

a first test pressure, causing said pressure sensor to generate a signal reflective of a first pathway

pressure[.]” OTC practices this step by operating the pump to pressurize the first fluid pathway

shown below in red to a first test pressure, such as the initial pressure of about 6,050 psi,

thereby causing the pressure sensor to generate a signal reflective of the first pathway pressure.

The sensed pressure is output on a computer screen as shown by the downward sloping red line

in the graph below.




                                     Fig. 11 OTC Greenlight




                                                 20
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 21 of 30




       45.     Claim 1 of the ‘143 patent further recites “receiving, by the computer system,

said signal reflective of said first pathway pressure at time t1 and at time t2[.]” OTC practices

this step by receiving the sensed pressure on a computer operating the OTC Greenlight

software. In the portion of the pressure graph shown above, the pressure is received by the

computer system and displayed on screen at multiples times starting at about 04:50:00 and

ending at about 04:56:00.

       46.     Claim 1 of the ‘143 patent further recites “comparing, by the computer system,

said first pathway pressure at time t1 and at time t2 and calculating, by the computer system, a

first test status of said first fluid pathway from a difference in said first pathway pressure from

time t1 to time t2[.]” OTC practices this step in its Greenlight software by at least calculating a

slope of the pressure over time, i.e., the difference in pressure divided by the difference in time,

and by determining whether the steady state pressure of the test alignment will remain within

the applicable limits. The test status is either passed, failed, or inconclusive.

       47.     Claim 1 of the ‘143 patent further recites “displaying on the output device said

first test status[.]” OTC practices this step by the OTC Greenlight software displaying a yellow

visual symbol on the computer screen to indicate that testing is ongoing and is still inconclusive,

a green circle to indicate that testing has passed, and a red octagon to indicate that testing has

failed. Yellow and green symbols are shown on the right side of the pressure graphs above.

The red octagon symbol is shown on the right side of the graph below.




                                                 21
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 22 of 30




                                        Fig. 12 OTC Greenlight

       48.     OTC also practices this step by creating and displaying or printing the report of

testing using its Leaflet software, which combines tabular test data (pressure and time), test

status (passed, failed, or inconclusive), and the corresponding alignment illustrations.

       49.     Claim 1 of the ‘143 patent further recites “positioning a second plurality of fluid

control components to form said second fluid pathway within said pressure system, said second

fluid pathway configured to be individually pressurized and including said pressure sensor[.]”

OTC practices this step by positioning a second plurality of fluid control components in the

positions shown in the second alignment illustration shown in Fig. 10 above to form the second

fluid pathway shown therein in red. This fluid pathway is also connected to the pump and a

pressure sensor. In this example, valves LIK, UIK, UIC, and LIC are closed and valves LOK,

UOK, UOC, and LOC are opened.

       50.     Claim 1 of the ‘143 patent further recites “pressurizing said second fluid pathway

to a second test pressure, causing said pressure sensor to generate a signal reflective of a second

pathway pressure[.]” OTC practices this step by operating the pump to pressurize the second



                                                22
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 23 of 30




fluid pathway to an initial test pressure, thereby causing the pressure sensor to generate a signal

reflective of the second pathway pressure.

        51.     Claim 1 of the ‘143 patent further recites “receiving, by the computer system,

said signal reflective of said second pathway pressure at time t3 and at time t4[.]” OTC

practices this step by sensing the pressure supplied by the pump and receiving the sensed

pressure by a computer that is operating OTC’s Greenlight software. For example, in Fig. 4

above, a pressure of about 5,950 psi is sensed at the time 04:54:00, and a pressure of about

5,920 psi is sensed at the time 04:56:00.

        52.     Claim 1 of the ‘143 patent further recites “comparing, by the computer system,

said second pathway pressure at time t3 and at time t4 and calculating, by the computer system,

a second test status for said second fluid pathway from a difference in said second pathway

pressure from time t3 to time t4[.]” OTC practices this step in its Greenlight software by at

least calculating a “slope” of the pressure over time, i.e., the difference in pressure divided by

the difference in time, and by predicting whether the steady state pressure of the second

pathway pressure will remain within the applicable limits. The test status is either passed,

failed, or inconclusive. As shown in Fig. 4 above, at times t3 and t4 after 04:56:00, the OTC

Greenlight software calculated a slope of -8.26 psi per minute. Based on this slope, the system

predicted that the steady state pressure would remain with the applicable limits and displayed a

green light to indicate that the test passed.

        53.     Claim 1 of the ‘143 patent further recites “displaying on the output device said

second test status[.]” OTC practices this step by the OTC Greenlight software displaying a

yellow visual symbol on the computer screen to indicate that testing of the second fluid pathway

is ongoing and still inconclusive, a green circle to indicate that testing has passed, and a red



                                                23
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 24 of 30




octagon to indicate that testing has failed.     OTC also practices this step by creating and

displaying or printing the report of testing each of the test alignments using its Leaflet software,

which combines tabular test data (pressure and time), test status (passed, failed, or

inconclusive), and the corresponding alignment illustrations.

       54.     Claim 1 of the ‘143 patent further recites “positioning a third plurality of fluid

control components to form a third fluid pathway within said pressure system, said third fluid

pathway being configured to receive said pressurized fluid if said first fluid pathway fails to

maintain said first test pressure[.]” OTC practices this step by positioning the fluid control

components depicted below so as to provide a third fluid pathway shown in blue, which leads

upward from valves LOK and UOK on the left side, and valves LOC and UOC on the right side.

This pathway includes valves KIV and CIV, which are both opened so that, if valve LOK or

UOK fails during testing of the first alignment, the pressurized fluid then flows into the third

fluid pathway (depicted in blue) and toward vent 1. Likewise, if opposing valve LOC or valve

UOC fails during testing of alignment 1, then the pressurized fluid flows into the third fluid

pathway (depicted in blue) and toward vent 2.




                                                24
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 25 of 30




                                   Fig. 13 OTC Blueprint

       55.     In a second example illustrated in Figure 14 shown below (reproduced from the

OTC Blueprint software), several third fluid pathways are formed on both the left side and the

right side of the BOP stack. For example, on the right side of the illustration, a third fluid

pathway extends from the Vent 2 valve, through the blue tubular conduit, and out of the right

side bleed path. Another third fluid pathway is formed on the right side extending below closed

valve CIV, through the open valves UOC, UIC, LOC, and LIC, upward through the BOP

annulus, and out through the upper BOP annular (labeled with a triangular symbol to indicate a

bleed path).



                                             25
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 26 of 30




                                     Fig. 14 OTC Blueprint

       56.     Claim 1 of the ‘143 patent lastly recites “venting said third fluid pathway to

atmosphere.” OTC practices this step by including a bleed path on each of the foregoing third

fluid pathways.

       57.     Defendant OTC or its agents or employees perform each of the foregoing steps

recited by claim 1 of the ‘143 patent. Alternatively, for any steps of claim 1 that are performed

by a third party, such as third party software licensees or third party rig personal (or such third

party’s agents), OTC conditions participation in pressure testing or any licensed use of its


                                               26
    Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 27 of 30




Blueprint, Greenlight, and/or Leaflet software, or the receipt of the benefit of such pressure

testing or software use, upon performance of such steps by such third party. For any such steps

of claim 1 that are performed by a third party or its agents, OTC establishes the manner or

timing of the performance of such step.

       58.     Defendant OTC’s acts constitute direct infringement of the ‘143 patent under 35

U.S.C. § 271(a).

       59.     Upon information and belief, Defendant OTC had knowledge of the ‘143 patent

and nonetheless continued its infringement despite this knowledge.            Defendant OTC’s

infringement of the ‘143 patent has been, and continues to be knowing, intentional, and willful.

       60.     Defendant OTC has actively induced infringement of the ‘143 patent under 35

U.S.C. § 271(b). OTC has actively induced direct infringement by others within the United

States, including rig owners or operators and their agents, by selling its Blueprint, Greenlight,

and Leaflet software with explicit instructions to perform the methods, and make and use the

systems claimed by the ‘143 patent.

       61.     Defendant OTC has contributorily infringed the ‘143 by offering to sell and

selling its Blueprint, Greenlight, and Leaflet Software within the United States because such

software is used in practicing the patented methods and constitutes a material part of the

claimed system.      Upon information and belief, Defendant OTC had knowledge that such

software was especially made or especially adapted for use in an infringement of the ‘143

patent, and not a staple article or commodity of commerce suitable for a substantial

noninfringing use.




                                              27
     Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 28 of 30




        62.    Defendant OTC’s acts of infringement have caused and will continue to cause

Plaintiffs IPT Global and IPT damages for which Plaintiffs are entitled to compensation and

enhanced damages pursuant to 35 U.S.C. § 284.

        63.    Defendant OTC’s acts of infringement have caused and will continue to cause

Plaintiffs IPT Global and IPT immediate and irreparable harm unless such infringing activities

are preliminarily and permanently enjoined by this Court pursuant to 35 U.S.C. § 283.

        64.    This case is exceptional and, therefore, Plaintiffs IPT Global and IPT are entitled

to an award of their attorney fees pursuant to 35 U.S.C. § 285.

                                            VI.
                                       JURY DEMAND

        65.    Plaintiffs IPT Global and IPT hereby demand a trial by jury of any and all issues

triable of right by a jury pursuant to Rule 38 of the Federal Rules of Civil Procedure.

                                           PRAYER

       Plaintiffs IPT Global and IPT request a judgment from this Court including the

following:

              a.      a finding that Defendant OTC directly infringes the ‘143 patent under 35

       U.S.C. § 271(a), induces infringement under 35 U.S.C. § 271(b), and contributorily

       infringes the ‘143 patent under 35 U.S.C. § 271(c);

              b.      a finding that Defendant’s infringement was willful;

              c.      an order preliminarily and permanently enjoining Defendant, and all those

       in active concert or participation with it, from infringing the ‘143 patent, in accordance

       with 35 U.S.C. § 283;




                                               28
Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 29 of 30




        d.        an order awarding Plaintiffs their actual damages and enhanced damages

 in an amount to be determined at trial, but in no event less than a reasonable royalty

 pursuant to 35 U.S.C. § 284;

        e.        an order awarding Plaintiffs their costs and attorney fees in accordance

 with 15 U.S.C. § 285; and

        f.        an order awarding Plaintiffs all such other and further relief as is available,

 at law or in equity, that this Court deems just, equitable, and proper under the

 circumstances.




                                            29
       Case 4:19-cv-03230 Document 1 Filed on 08/27/19 in TXSD Page 30 of 30




                       Respectfully submitted on this 27th day of August, 2019,

                                                    CONLEY ROSE, P.C.



                                                    By: /s/Thomas L. Warden
                                                    Thomas L. Warden
                                                    Texas State Bar No. 24004174
                                                    Southern District Bar No. 22342
                                                    twarden@conleyrose.com
                                                    Nick P. Patel
                                                    Texas State Bar No. 24076610
                                                    Southern District Bar No. 1156204
                                                    npatel@conleyrose.com
                                                    CONLEY ROSE, P.C.
                                                    575 North Dairy Ashford Road, Suite 1102
                                                    Houston, Texas 77079
                                                    Telephone: (713) 238-8000
                                                    Facsimile: (713) 238-8008


                                                    BOYARMILLER



                                                    By: /s/Chris Hanslik
                                                    Chris Hanslik
                                                    Texas State Bar No. 00793895
                                                    Southern District Bar No. 19249
                                                    chanslik@boyarmiller.com
                                                    Lauren Black
                                                    Texas State Bar No. 24097767
                                                    Southern District Bar No. 3039945
                                                    lblack@boyarmiller.com
                                                    Kirby Grove
                                                    2925 Richmond Avenue, 14th Floor
                                                    Houston, Texas 77098
                                                    Telephone: (713) 850-7766
                                                    Facsimile: (713) 552-1758

                                                    ATTORNEYS FOR PLAINTIFFS
                                                    IPT GLOBAL, LLC AND
                                                    INNOVATIVE PRESSURE TESTING, LLC
888167-v1/3159-04800




                                                       30
